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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                CRIMINAL 01-0691CCC
 1) EDISON MISLA-ALDARONDO
 2) JOSE GERARDO CRUZ-ARROYO
 3) JOSE IVAN RAMOS-CUBANO
 4) JOSE DE-JESUS-TORO
 5) ALVIN RAMIREZ-ORTIZ
 Defendants

                                         ORDER
       Upon application for Writ of Continuing Garnishment and Notice thereof filed by the
United States on November 4, 2005 (docket entry 764), and it appearing from the records
of this Court in the above mentioned case that judgment was entered by this Court against
defendant Edison Misla-Aldarondo, and that said defendant has failed to pay to the plaintiff the
sum of money adjudged to be paid under said judgment;
       and it appearing further that not less than thirty (30) days have elapsed since demand
on the debtor for payment of the debt was made and the judgment debtor has not paid the
amount due nor the impositions been stayed;
       and it appearing further that the garnishee, Banco Bilbao Vizcaya, is believed to owe or
will owe money or property to the judgment debtor, or is in possession of property in which
the debtor has a nonexempt interest;
       NOW THEREFORE, IT IS ORDERED that the Clerk of Court issue the following Writ
of Continuing Garnishment addressed to Banco Bilbao Vizcaya, which shall read as follows:
                        “WRIT OF CONTINUING GARNISHMENT
To: Banco Bilbao Vizcaya
254 Muñoz Rivera Ave- 11th Floor
Attn: Diana Soler Rodríguez, Esq.
Hato Rey, PR 00918
ACCOUNT # 013-1090008992
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       An application for a Writ of Garnishment against the property of Edison
Misla-Aldarondo, defendant, has been filed with this Court. A criminal judgment has been
entered against the above-named defendant on June 20, 2003, imposing an SMA in the
amount of $500.00, a fine in the amount of $12,500.00, and a monetary forfeiture of
$147,400.
       It appearing from the records of this Court in the above mentioned case that defendant
Edison Misla-Aldarondo has failed to pay to the plaintiff the sum of money adjudged to be paid
under said judgment;
       it appearing further that not less than thirty (30) days have elapsed since demand on the
debtor for payment of the debt was made and the judgment debtor has not paid the amount
due nor the impositions been stayed;
       and it appearing further that you, Banco Bilbao Vizcaya, are believed to owe or will owe
money or property to the judgment debtor, or are in possession of property in which the debtor
has a nonexempt interest;
       THEREFORE, you, Banco Bilbao Vizcaya, shall withhold and retain any property in
which the debtor has a substantial non-exempt interest and for which you are or may become
indebted to the judgment debtor pending further order of the Court.
       You are also required by law to answer in writing, under oath, within ten (10) days of
service of this writ, whether or not you have in your custody, control or possession, any
property owned by the debtor, including non-exempt, disposable earnings. If so, you shall
describe such property and the value of such interest, and describe any previous garnishment
to which such property is subject and the extent to which any remaining property is not exempt.
        You shall also state the amount of the debt you anticipate owing to the judgment debtor
in the future and whether the period for payment will be weekly or another specified period.
        You must file the original written answer to this writ within ten (10) days of your receipt
of this writ with the United States District Clerk at: Federal Building, 1st Floor, Room 150,
Carlos Chardón Avenue, Hato Rey, Puerto Rico, 00918. Additionally, you are required by
law to serve your written answer to this writ upon the debtor Edison Misla-Aldarondo, Schuylkill
FCI, P.O. Box 700, Interstate 81 & 901 West, Minersville, PA 17954, and upon the United
States Attorney, Financial Litigation Unit, Torre Chardón, Suite 1201, 350 Carlos Chardón
Street, San Juan, Puerto Rico 00918.
        If you fail to answer this writ or fail to withhold property in accordance with this writ,
the United States of America may petition the Court for an order requiring you to appear
before the Court. If you fail to appear or do appear and fail to show good cause why you failed
to comply with this writ, the Court may enter a judgment against you for the value of the
debtor's nonexempt interest in such property. The Court may award a reasonable attorney’s
fee to the United States and against the garnishee if the writ is not answered within the time
specified therein and a petition requiring the garnishee to appear is filed by the United States.
        It is unlawful to pay or deliver to the defendant any item attached by this writ.”
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       IT IS FURTHER ORDERED that the Clerk of Court issue a Notice of Post-Judgment
Garnishment, to be prepared by counsel for the United States in substantially the form provided
in 28 U.S.C. Section 3202(b).
       SO ORDERED.
       At San Juan, Puerto Rico, on December 8, 2005.



                                                   S/CARMEN CONSUELO CEREZO
                                                   United States District Judge
